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                             UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

    ASHLAND UNIVERSITY                             )     Case No. 1:23cv1850
                                                   )
                  Plaintiff,                       )
                                                   )     JUDGE DAVID A. RUIZ
          v.                                       )
                                                   )
                                                   )     MOTION TO STAY THE BRIEFING
    LINDA MCMAHON, Secretary of                    )     SCHEDULE
    Department of Education,1                      )
                                                   )
                  Defendant.                       )



        Now comes the Defendant, by and through undersigned counsel, and hereby respectfully

moves this Honorable Court for a 60-day stay of this matter. For cause, the parties have initiated

settlement discussions.

        As grounds for this extension, undersigned counsel requests the additional time due to the

need for review of settlement authority and to continue the settlement conversations in progress.

This extension is not requested to cause unnecessarily delay of this matter but is made in the

interests of justice to allow for sufficient time to allow the parties to settle the matter.

        If the case is not resolved in 60-days, Defendant proposes to file a status report to inform

the Court on the status of settlement negotiations.




1
 Pursuant to Fed. R. Civ. P. 25(d), Linda McMahon, Secretary of Education, who assumed office
on March 3, 2025, is substituted for Miguel Cardona as Defendant.
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                                       Respectfully submitted,

                                       CAROL M. SKUTNIK
                                       Acting United States Attorney

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                                       the United States Department of Education




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